              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:12-cv-00315-MR
            CRIMINAL CASE NO. 1:09-cr-00013-MR-DLH-8


KENNETH LEE FOSTER,             )
                                )
                   Petitioner,  )
                                )
         vs.                    )                    ORDER
                                )
                                )
UNITED STATES OF AMERICA,       )
                                )
                   Respondent.  )
_______________________________ )


      THIS MATTER is before the Court on the Petitioner’s “Motion for Relief

from Order/Judgment” [Civil Case No. 1:12-cv-00315-MR (“CV”), Doc. 28;

Criminal Case No. 1:09-cr-00013-MR-DLH-8 (“CR”), Doc. 858] and the

Petitioner’s “Motion to Take Judicial Notice” [CV Doc. 31].

      The Petitioner moves pursuant to Rule 60(b)(3) of the Federal Rules

of Civil Procedure for reconsideration of the Order denying his motion to

vacate pursuant to 28 U.S.C. § 2255. [CV Doc. 28; CR Doc. 858]. For

grounds, the Petitioner asserts that the Court made an error in law in the

analysis of one of his claims.




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      In his § 2255 motion, the Petitioner asserted a claim that his counsel

was ineffective by failing to argue that the Government failed to comply with

the wiretap disclosure requirements set forth in 18 U.S.C. § 2518(9). The

Court found this claim to be without merit, reasoning as follows:

            Petitioner further claims that counsel should have
            raised an issue as to 18 U.S.C. § 2518(9), which
            requires notice to defendants that the Government
            intends to use wiretap evidence at trial. This
            contention is without merit, however, as the
            Government provided such notice on March 3, 2009,
            by filing the document with this Court. [See Criminal
            Case No. 1:09-cr-00013-MR-DLH-8, Doc. 112:
            Notice of Intent to Use Wiretap Evidence in
            Proceedings].

[CV Doc. 17 at 6-7]. The Petitioner contends that the Court erroneously

dismissed this claim on the grounds that the Government had provided

notice of its intent to use wiretap evidence at trial, but failed to address his

claim that the Government did not provide the disclosure required by §

2518(9).

      Section 2518(9) provides, in pertinent part, as follows:

            The contents of any wire, oral, or electronic
            communication intercepted pursuant to this chapter
            or evidence derived therefrom shall not be received
            in evidence or otherwise disclosed in any trial,
            hearing, or other proceeding in a Federal or State
            court unless each party, not less than ten days
            before the trial, hearing, or proceeding, has been
            furnished with a copy of the court order, and

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            accompanying application, under which the
            interception was authorized or approved.

18 U.S.C. § 2518(9) (emphasis added).

      The Petitioner’s argument that the Government failed to comply with

the disclosure requirements of § 2518(9) is without merit. The Government

made all discovery, including all wiretap materials, available to defense

counsel within ten days of arraignment pursuant to the United States

Attorney’s open-file policy. [Doc. 459 at 10: Trial Transcript Vol. I]. The

wiretap application was clearly made available to the defense, as Petitioner’s

counsel argued on appeal, albeit unsuccessfully, that the wiretap

applications failed to comply with the requirements of 18 U.S.C. § 2518(1)(c)

[See Doc. 589 at 9-10]. Accordingly, the Petitioner’s argument that his

counsel was ineffective by not arguing that the Government failed to comply

with the wiretap disclosure requirements set forth in 18 U.S.C. § 2518(9) is

simply without merit, and his motion for relief under Rule 60(b) is denied.

      The Petitioner also moves the Court to take judicial notice of a

memorandum which authorized the wiretap in the Petitioner’s underlying

criminal proceeding. The Petitioner states that the memorandum “is not an

addendum or a supplement to any pending matter, but rather [is provided]

as a courtesy to this Court….” [CV Doc. 31 at 2]. As the memorandum



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admittedly does not related to any pending matter, the Petitioner’s motion for

judicial notice of such memorandum is denied.

      IT IS, THEREFORE, ORDERED that the Petitioner’s “Motion for Relief

from Order/Judgment” [CV Doc. 28; CR Doc. 858] and the Petitioner’s

“Motion to Take Judicial Notice” [CV Doc. 31] are both DENIED.

      IT IS SO ORDERED.
                               Signed: November 3, 2017




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